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IN THE UNITED sTATEs DISTRICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEE QSAUP_
wEsTERN DIvIsIoN 3 ‘

 

TONY LEON WHITE,

 

Plaintiff,

v.
NO. 04-2599 BP
JO ANNE B. BARNHART,
Commissioner of Social
Security,

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Defendant.

 

REPORT AND RECOMMENDATION

 

Plaintiff Tony Leon White appeals from a decision of the
Commissioner' of Social Security (“Commissioner”), finding that
White was not without fault in receiving and accepting an
overpayment of Social Security disability'payments. The appeal was
referred to the United States Magistrate Judge for a report and
recommendation pursuant to 28 U.S.C. § 636(b)(1). For the reasons
below, it is recommended that the Commissioner’s decision. be
REVERSED and REMANDED.

I. PROPOSED FINDINGS OF FACT
A. Factual and Procedural Historv

White was injured in an on-the-job accident on March 21, 1988.

As a result of those injuries, White suffered pain in his low back

and neck, and he experienced headaches. He filed an application

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for disability insurance benefits on February 28, 1990, and an
application for supplemental security income on February'27, 1990,
in Dallas, Texas. (R. at 37, 39). His applications were denied at
both the initial and reconsideration levels. On November 13, 1990,
White appeared.before an Administrative Law Judge (“ALJ”) in Dallas
for a hearing, and obtained. a favorable ruling. (R. at 10.}
Subsequently, White began receiving Social Security income (“SSI”)
on the basis of severe organic brain syndrome and depression. (R.
at 12, 45} .

According to White, after he started receiving SSI, a Social
Security Administration (“SSA”) caseworker contacted him several
times, encouraging him to go back to work while receiving SSI.
(Complaint at 3; R. at 29, 33.) He testified that the caseworker
did not inform him that working would affect the amount of SSI he
received. (R. at 33.) He further testified that “the caseworker
informed him that he would continue to receive[] benefits while he
worked.” (Complaint at 3.)

In November 1993, White started working for the police
department in Plano, Texas. (R. at 25.) He earned nine dollars an
hour while working forty hours per week until he resigned in

February 1998. (R. at 25, 52.) White claims that he resigned from

this position due to medical problems. (Complaint at 4.) White
testified that he reported all of these earnings to SSA. (R. at
25, 33, 52.) He testified that no one ever told him that he was

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earning wages in excess of the SSA eligibility requirements, nor
did he receive anything in writing from the SSA regarding how his
work would affect his benefits. (R. at 26, 29).

In 1998, White moved to Tennessee, and started working again
in 1999. He initially worked full-time for Cleo, Inc. for a few
months, and later worked part-time for Federal Express in Memphis.
(R. 31, 32, 52.) He worked full-time for the state of Tennessee
from April 2000 to October 2001. (R. at 32; Complaint at 4.)
White did not report his Tennessee income to the SSA. (R. at 28,
97.) On August 27, 2000, the SSA informed White that he no longer
qualified for disability benefits; however, he continued to receive
SSI through October 2000. (R. at 68.)

Shortly thereafter, the SSA informed White that he would be
required to pay back $53,341.00 of overpayments. On March 17,
2001, White filed a request for a waiver of the overpayment. (R. at
55-64.) The SSA District Office in Memphis denied that request on
August 20, 2002. (R. at 65-67.) White appealed this decision, and
a hearing before an ALJ was held on July 15, 2003. At this
, hearing, White was assisted by Joann_ Jones, a paralegal with
Memphis Area Legal Services. The ALJ found that White received an
overpayment of benefits in the amount of $53,341, and that White

was not without fault in receiving and accepting the overpayment.l

 

l'I‘he ALJ also found that repayment would defeat the purpose
of the Social Security Act or be against equity and good
conscious. In order to waive collection of the repayment,

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As a result, the ALJ denied a waiver of recovery of the
overpayment. (R. 10-14.) The Appeals Council of the SSA denied a
request for review on June 4, 2004, and thus, the decision of the
ALJ stands as the Commissioner’s final decision. (R. at 2-4.)
Subsequently; White filed. this timely' appeal seeking judicial
review of the Commissioner’s decision.
B. The ALJ’s Decision

The issue before the ALJ was whether recovery of the
overpayment to White should be waived. Using the two-step analysis
for waiver of overpayments under 42 UZS.C. § 404(b), the ALJ
considered whether White was without fault in receiving the
overpayments and whether recovery would defeat the purpose of Title
II of the Social Security Act or would be against equity and good
conscience. In deciding whether White was without fault, the ALJ
applied the test set forth in the federal regulations, which
provides that waiver is not permitted under the following
circumstances:

(a) An incorrect statement made by the individual which
he knew or should have known to be incorrect;

(b) Failure to furnish information. which, he knew ¢or
should have known to be material; or

 

however, Section 404 requires both a finding that the claimant
was not without fault (i.e. at fault) in the overpayment of
benefits and that repayment would defeat the purpose of the
Social Security Act or be against equity and good conscious. §e§
42 U.S.C. § 404(b); Watson v. Sullivan, 940 F.2d 168, 171 (Gth
Cir. 1991). Because White satisfied only the second requirement,
the ALJ denied waiver.

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(c) With respect to an overpaid individual only,

acceptance of a payment which he either knew or could

have been expected to know was incorrect.

20 C.F.R. § 404.507.

After reviewing the record, the ALJ found that White was at
fault in receiving the overpayment because he either knew or could
have been expected. to know that the disability' payments were
incorrect. The ALJ based this finding on White's testimony that he
reported his work activity to a Social Security counselor in Texas,
concluding that this fact “clearly denotes knowledge that he should
not have continued to receive disability benefits[,]” and “having
witnessed the claimant’s demeanor at the hearing, and after
reviewing the record as a whole, including his consistent work
history since August 1993, the [ALJ] finds that the claimant was
‘at fault' in accepting all overpayments.” (R. 12).

In addition to finding White was at fault for receiving the
overpayments, the ALJ also found that the recovery of the
overpayment would defeat the purpose of Title II and is against
equity and good conscience. ln reaching this conclusion, the ALJ
noted that White has financial obligations of $2,000 per month to
support his five member family. The ALJ also relied on White’s
testimony that he had no health insurance and the family received
public assistance and food stamps.

Based on these findings, the ALJ concluded that the recovery

of overpayment would not be waived pursuant to 42 U.S.C. § 404(b).

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II. PROPOSED CONCLUSIONS OF LAW
This court's review of the Commissioner's final decision is
limited to determining whether or not there is substantial evidence
to support the decision, 42 U.S.C. § 405(g); Drummond v. Comm'r of
Soc. Sec., 126 F.3d 837, 840 {Gth Cir. 1997), and whether the
correct legal standards were applied. Landsaw v. Sec'v of Health

& Human Servs., 803 F.2d 211, 213 (6th Cir. 1986). When the record

 

contains substantial evidence to support the Commissioner's
decision, the decision must be affirmed. Stanlev v. Sec'v of Health

& Human Servs., 39 F.3d 115, 117 (6th Cir. 1994)(citing Richardson

 

v. Perales, 402 U.S. 389, 401 (1971)). “Substantial evidence” is
“such relevant evidence as a reasonable mind. might accept as
adequate to support a conclusion.” Richardson, 402 U.S. at
401(quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229
(1938)). In determining whether substantial evidence exists, the
reviewing court must examine the evidence in the record taken as a
whole and must take into account whatever in the record fairly
detracts from its weight. Abbott v. Sullivan, 905 F.2d 918, 923
(6th Cir. 1990). When substantial evidence supports the
Commissioner’s determination, it is conclusive, even if substantial
evidence also supports the opposite conclusion. Felisky v. Bowen,
35 F.3d 1027, 1035 (6th Cir. 1994). Similarly, the court may not
try the case de novo, resolve conflicts in the evidence, or decide

questions of credibility. Cutlip in Sec’y'<af Healttl & Human

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Servs., 25 F.3d 284, 286 (6th Cir. 1994). White has the burden of
proof on the issue of whether he was not without fault. Makofsky
v. Apfel, 248 F.3d 1139 (5th Cir. 2001)(unpublished.)

As an initial matter, the court notes that White, who filed
the present appeal pro se, raises issues in his brief that were not
before the ALJ. White correctly identifies the governing
“substantial evidence” standard of review, but his argument section
suggests that the ALJ made an improper decision regarding the award
of benefits. (Brief of Appellant, 3.) The only issue below,
however, was whether White should be granted a waiver of repayment.
A district court can only review issues that were before the ALJ.
§§§ 42 U.S.C. § 405(g); cf. Hix v. Dir., Office of Workers’ Comp.
Programs, 824 F.2d 526, 527 (6th Cir. 1987)(citing Honaker v.
Benefits Review Bd., No. 85-3960, 805 F.2d 1034 (6th Cir. Oct. 20,
1986) (unpublished per curiam))(stating that “an appellate court
should not review an ALJ’s decision on the merits when the claimant
did not raise his claims before the agency”). Therefore, the court
will only address the merits of White’s pro se appeal on the issue
of waiver.

After reviewing the entire record, this court submits that the
ALJ’s conclusion that White was “at fault” is not supported by
substantial evidence. The ALJ found that White’s reporting of his
work activity to a SSA counselor “clearly denotes [White's]

knowledge that he should not have continued to receive disability

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benefits.” The ALJ also took into consideration White’s consistent
work history since August 1993. lt is not entirely clear how
consistent work history and reporting income to the SSA shows that
White knew or should have known that he should not have received
benefits. In fact, one could certainly make the argument that had
White not reported his income to SSA, that would have been stronger
evidence that he knew he should not have been receiving benefits.2
There is nothing in the record before the court that indicates SSA
informed White - either before or during the period of overpayment
- of his eligibility requirements or that he was no longer eligible
for SSI benefits. See, e.g., Evo v. Chater, 95 F.3d 1152, 1996 WL
495002, at *4 (6th Cir. 1996)(unpublished)(noting that SSA.informed
claimant that his disability should have stopped in June 1987 but
claimant continued to accept checks after that date); Watson v.
Sullivan, 940 F.2d 168, 171 (6th Cir. 1991)(finding that claimant’s
“admitted reading and understanding of the ground rules on trial
work periods” supported the conclusion that he should have known
that he should not have received disability checks); Pliley v.
Sullivan, 892 F.2d 35, 39 (6th Cir. 1989)(imputing knowledge of
eligibility requirements based on a pamphlet that claimant
testified he understood); Montgomerv v. Sec’v of Health & Human

ServS., 826 F.2d l064, 1987 WL 38542, at *l (6th Cir.

 

2This also would violate 20 c.F.R. § 404.507(b) - failure to
furnish information which he knew or should have known to be
material.

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1987)(unpublished)(finding that claimant had notice of certain
obligations based on information contained on disability
application that claimant signed); McInnis v. Barnhart, 336
F.Supp.2d 912, 918-19 (N.D. Iowa 2004)(noting that claimant was
informed of obligations and limitations in a notification letter

and in conversations with SSA officials); see also Makofsky v.

 

Apf§l, 248 F.3d 1139 (5th Cir. 2001)(unpublished)(“Where the SSA
does not expressly warn claimants, however, federal appeals courts
have not assumed that claimants know what is material to their
eligibility.”).

The only evidence in the record on this issue is White’s own
testimony that he was never informed that he could not work and
receive benefits at the same time. (R. 29} The ALJ's reference to
White’s “demeanor” at the hearing might suggest that he questioned
White’s credibility. However, “[w]here, as here, credibility is a
critical factor in determining whether the claimant was without
fault, the ALJ must have stated explicitly whether he believed the
witness's testimony.” Makofsky, 248 F.3d 1139; Albalos v.
Sullivan, 907 F.2d 871, 873-74 (9th Cir. 1990}; Valente v. Sec'v of
Health & Human Servs., 733 F.2d 1037, 1045 (2nd Cir. 1984); Viehman
v. Schweiker, 679 F.2d 223, 229 (11th Cir. 1982). The ALJ made no
such explicit credibility finding.

Having found that the ALJ's decision is not supported by

substantial evidence, the court may modify or reverse the decision,

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with or without remanding the cause for further hearing.3 42
U.S.C. § 405(g). “If a court determines that substantial evidence
does not support the Secretary's decisionr the court can reverse
the decision and immediately award benefits only if all essential
factual issues have been resolved and the record adequately
establishes a plaintiff's entitlement to benefits.” Faucher v.
Sec'v of Health & Human Servs., 17 F.3d 171, 174 (6th Cir. 1994).
On the other hand, “when there is not substantial evidence to
support one of the ALJ’s factual findings and his decision

therefore must be reversed, the appropriate remedy is not to award

benefits. The case can be remanded under sentence four of 42
U.S.C. § 405(g) for further consideration.” Id. at 178-179. In
the present case, remand is appropriate. See, e.g., Morris v.

 

Shalala, NO. 92-1508, l994 WL 3401, at *8-10 (E.D. Pa. Jan. 04,
1994).
III. CONCLUSION
Accordingly, it is recommended that the court reverse the
decision of the ALJ and remand the case for further proceedings

consistent with this decision.

 

JAlthoagh the ALJ did not make a finding under 20 c.F.R. §
404.507(a) and (b), the court's review of the record reveals no
evidence that shows White made an incorrect statement which he
knew or should have known to be incorrect, or that he failed to
furnish information which he knew or should have known to be
material.

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Respectfully submitted.

/A/r\,

TU 'M . PHAM “
United States Magistrate Judge

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Date 0 4

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TEN (10) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT. 28
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MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND ANY FURTHER
APPEAL.

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